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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

OAKLEY, INC.,
                                                     Case No. 18-cv-03341
              Plaintiff,
                                                     Judge Andrea R. Wood
v.
                                                     Magistrate Judge Sheila M. Finnegan
SHENZHEN SAILVAN ECOMMERCE CO.,
LTD. and HONGKONG LINEMART
LIMITED,
              Defendants.


         PLAINTIFF’S MOTION FOR ENTRY OF AN ORDER DIRECTING
        SERVICE OF PROCESS ABROAD PURSUANT TO FED. R. CIV. P. 4(f)

       Plaintiff Oakley, Inc. (“Oakley” or “Plaintiff”) seeks entry of an order directing service of

process abroad pursuant to Fed. R. Civ. P. 4(f). A Memorandum of Law in Support is filed

concurrently with this Motion.

Dated this 20th day of June 2018.            Respectfully submitted,


                                             /s/ Justin R. Gaudio
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